Case 1:05-cr-10043-.]DT Document 10 Filed 07/26/05 Page 1 of 2 PagelD 13
|N THE UN|TED STATES D|STR|CT COURT

FOR THE wEsTERN DisTRlcT oF TENNESSEE iii i .
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UN|TED STATES OF A|V|ER|CA, ~i. ;,.-.,i ., t ,,

 

F’laintiff,
v. Cr. No. 05-10043-T/An
GU|LLER|VIO OROZCO-BOBADILLA,

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on Ju|y 26, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAME: Dianne Smothers
ADDRESS:

TELEPHONE:

The defendant, through counse|, waived formal arraignment and entered a plea of not
guilty_

All motions shall be filed within thirty (30) days from the date hereofunless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his/her present bond.
15 The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the
U.S. l\/larsha|.

 

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S. THOMAS ANDERSON
United States Magistrate Judge

Charges: illegal alien
Assistant U.S. Attorney assigned to case: Powell

Ru|e 32 was not waived

Defendant's age: [_'13

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRch on 2 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10043 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

